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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                               EASTERN DIVISION
11   KENYON DARRELL BROWN,                     )      No. 5:21-cv-01647-RGK (JDE)
                                               )
12                     Petitioner,             )
                                               )      JUDGMENT
13                       v.                    )
                                               )
     CDCR DIRECTOR,                            )
14                                             )
                                               )
15                     Respondent.             )
                                               )
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17
           Pursuant to the Order (1) Summarily Dismissing and Action Without
18
     Prejudice; and (2) Directing Clerk to File Petition as Motion to
19
     Amend/Supplement Petition in Case No. 5:21-cv-00819-RGK-JDE,
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           IT IS ADJUDGED that the action is dismissed without prejudice, with
21
     the operative petition filed as a Motion to Amend/Supplement in Case No.
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     5:21-cv-00819-RGK-JDE.
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24
25   Dated: October 15, 2021
26                                                 ______________________________
27                                                 R. GARY KLAUSNER
                                                   United States District Judge
28
